Case 19-22280-CMB       Doc 106    Filed 09/28/20 Entered 09/28/20 12:04:43   Desc Main
                                  Document     Page 1 of 1


                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          WESTERN DISTRICT OF PENNSYV ANIA

   IN RE:

            Mark Pancari,                              Bankruptcy No. 19-22280-CMB
            Cathleen Pancari,
                                  Debtors,

            Mark Pancari,                              Chapter 13
            Cathleen Pancari,
                                  Movants,
                                                       Related to Document No.
                  V.
            Credito Real USA Finance, LLC,
            Prestige Auto Mall,
            Ronda Winnecour, Trustee,
                                Respondents.


                                  CERTFICATE OF SERVICE

   I hereby certify that I served a true and correct copy of the Emergency Motion to
   Compel Enforcement of Court Order and the Court Order Scheduling Hearing Dates
   for Response on each party listed below by first class U.S. mail on September 28,
   2020.

    Ronda J Winnecour, Trustee
    Suite 3250, USX Tower
    600 Grant Street
    Pittsburgh, PA 15219

   Credito Real USA Finance LLC
   1475 W Cypress Creek Road, Suite 300
   Fort Lauderdale, FL 33309

   Prestige Auto Mall
   1559 State Road
   Cuyahoga Falls, OH 44223

                                               Attorney for Movants:
                                               Rice & Associates Law Firm
                                               /sf David A Rice, Esq.
                                               15 West Beau Street
                                               Washington, PA 15301
                                               724-225-7270
                                               ricelawl@verizon.net
                                               PA ID# 50329
